        Case 17-06078-MM7              Filed 05/15/20         Entered 05/15/20 16:38:55         Doc 409        Pg. 1 of 2
CSD 1001A [11/15/04]
Name, Address, Telephone No. & I.D. No.
RICHARD M KIPPERMAN
P.O. BOX 3010
LA MESA, CA 91944-3010                                                                          May 15, 2020
619-668-4500

CHAPTER 7 TRUSTEE

             UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF CALIFORNIA
      325 West "F" Street, San Diego, California 92101-6991

In Re

                                                                                 BANKRUPTCY NO.   17-06078-MM-07
CORE SUPPLEMENT TECHNOLOGY, INC.,
                                                                                 Date of Hearing: N/A
                                                                                 Time of Hearing: N/A
                                                                       Debtor.   Name of Judge: Margaret M. Mann



                                      ORDER ON
          NOTICE OF INTENDED ACTION AND OPPORTUNITY FOR HEARING REGARDING
              AUTHORITY TO PAY RICHARD BASS FOR IT CONSULTING SERVICES


           IT IS ORDERED THAT the relief sought as set forth on the continuation pages attached and numbered two (2)

 through     2    with exhibits, if any, for a total of   2   pages, is granted. Motion/Application Docket Entry No.   382

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 DATED:          May 15, 2020
                                                                       Judge, United States Bankruptcy Court


 Signature by the attorney constitutes a certification under
 Fed. R. of Bankr. P. 9011 that the relief in the order is the
 relief granted by the court.

 Submitted by:


 (Firm name)


 By: /s/ Richard M Kipperman
     Trustee


CSD 1001A
        Case 17-06078-MM7           Filed 05/15/20      Entered 05/15/20 16:38:55          Doc 409      Pg. 2 of 2
 CSD 1001A [11/15/04](Page 2)
 ORDER ON NOTICE OF INTENDED ACTION AND OPPORTUNITY FOR HEARING REGARDING
 DEBTOR: AUTHORITY TO PAY RICHARD BASS FOR IT CONSULTING SERVICES                         CASE NO: 17-06078-MM-07
            CORE SUPPLEMENT TECHNOLOGY, INC.,


The Trustee's Notice of Intended Action and Opportunity for Hearing, filed by Richard M Kipperman with the above entitled
Court on March 19, 2020, and served upon the debtor, creditors and parties in interest on March 22, 2020, no request for
hearing nor objection to said Notice has been filed with the Court or received by the Trustee, it is hereby

ORDERED that:
The Trustee's Notice of Intended Action is approved and the Trustee is authorized to make a nunc pro tunc payment to Richard
Bass for IT Consulting services totaling $2,279.09.




 CSD 1001A
                                                                               Signed by Judge Margaret M. Mann May 15, 2020
